
673 S.E.2d 135 (2009)
Angela G. KENION, Employee, Plaintiff
v.
MAPLE VIEW FARM, INC., (Non-Insured), Employer and Maple View Milk Company, LLC and The Hartford Insurance Company, Carrier, Defendants.
No. 438P08.
Supreme Court of North Carolina.
February 5, 2009.
Kathleen G. Sumner, Greensboro, for Kenion.
Robin H. Terry, Meredith Taylor Berard, Raleigh, for Maple View Milk Co. &amp; Ins. Co.
Jeffrey A. Doyle, Susan J. Vanderweert, Raleigh, for Maple View Farm, Inc.

ORDER
Upon consideration of the conditional petition filed on the 29th day of September 2008 by Defendant (Maple View Farm) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 5th day of February 2009."
